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 1                                UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 Charlie Muna Cabrera,                                     Case No.: 2:20-cv-01573-APG-NJK

 4            Petitioner,                               Order Denying Leave to Proceed in Forma
                                                         Pauperis and Directing Clerk to Change
 5 v.                                                              Petitioner’s Name

 6 State of Nevada, et al,                                               [ECF No. 1]

 7            Respondents.

 8           This is a habeas corpus action under 28 U.S.C. § 2254. Petitioner Charlie Muna Cabrera

 9 has filed an application to proceed in forma pauperis. ECF No. 1. I find that Cabrera has enough

10 money in his account to pay the $5.00 filing fee.

11           Cabrera’s name in the court's docket is incorrect. The docket lists his name as “Cabrera

12 Charlie Muna.” This is because he wrote his name as “Cabrera, Charlie Muna” in the captions of

13 the application to proceed in forma pauperis and the petition for a writ of habeas corpus. The

14 clerk of the court will need to correct his name.

15           I THEREFORE ORDER that the application to proceed in forma pauperis (ECF No. 1)

16 is DENIED. Cabrera will have until September 30, 2020 to have the filing fee of $5.00 sent to

17 the clerk of the court. Failure to comply will result in the dismissal of this action.

18           I FURTHER ORDER the clerk of the court to send Cabrera two copies of this order.

19 Cabrera must make the necessary arrangements to have one copy of this order attached to the

20 check paying the filing fee.

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           Case 2:20-cv-01573-APG-NJK Document 3 Filed 08/27/20 Page 2 of 2



 1         I FURTHER ORDER the clerk of the court to change the petitioner’s name in the court’s

 2 docket, so that his first name is “Charlie,” his middle name is “Muna,” and his last name is

 3 “Cabrera.”

 4         DATED this 27th day of August, 2020.

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 6
                                                        ANDREW P. GORDON
                                                        UNITED STATES DISTRICT JUDGE
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